

People v Lamberty (2024 NY Slip Op 06669)





People v Lamberty


2024 NY Slip Op 06669


Decided on December 31, 2024


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: December 31, 2024

Before: Webber, J.P., Moulton, Friedman, Mendez, Shulman, JJ. 


Ind. No. 2652/17 Appeal No. 3345 Case No. 2018-04288 

[*1]The People of the State of New York, Respondent,
vSabriel Lamberty, Appellant.


Twyla Carter, The Legal Aid Society, New York (Sylvia Lara Altreuter of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Andrew Kim of counsel), for respondent.



Judgment, Supreme Court, New York County (Laura A. Ward, J.), rendered June 6, 2018, convicting defendant, after a jury trial, of tampering with physical evidence and resisting arrest, and sentencing him, as a second felony offender, to an aggregate term of 1½ to 3 years, unanimously reversed, on the law and the facts, and the indictment dismissed.
The People failed to demonstrate that the search of defendant's fanny pack was a proper search incident to a lawful arrest because they failed to establish either that the officer actually arrested defendant or intended to do so before opening his bag (see People v Reid, 24 NY3d 615, 619 [2014]; People v Mangum, 125 AD3d 401, 402 [1st Dept 2015]).
Defendant's tampering and resisting arrest convictions were the direct result of the improper search and so must be reversed. 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: December 31, 2024








